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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 JANE VC-DC DOE,                                 )
                                                 )
          Plaintiff,                             )
 v.                                              )
                                                     CIVIL ACTION NO.:1:19-CV-23
                                                 )
 VIRGINIA COLLEGE, LLC;                          )
 EDUCATION CORPORATION OF                        )
 AMERICA,                                        )
                                                 )
          Defendants.                            )

                                   NOTICE OF REMOVAL

         To the Clerk of the United States District Court for the Western District of Texas:

      1. Defendants Virginia College, LLC (“Virginia College”) and Education Corporation of

America (“ECA”) (collectively, “Defendants”) hereby file this Notice of Removal under 28

U.S.C. §§ 1441, 1446 and Federal Rule of Civil Procedure 81(c).

      2. Defendants remove this action from the 345th Judicial District Court of Travis County,

Austin, Texas to the United States District Court for the Western District of Texas, Austin

Division. This action is removable pursuant to 28 U.S.C. § 1332 in that there is complete

diversity of citizenship between Plaintiff and Defendants and the amount in controversy exceeds

the sum of $75,000.00, exclusive of interest and costs. In support of this Notice of Removal,

Defendants state the following:

                                       State Court Action

      3. On November 28, 2018, Plaintiff Jane Doe (“Plaintiff”) commenced this action by filing

an Original Petition against Defendants Virginia College and ECA in the 345th Judicial District

Court of Travis County, Austin, Texas, entitled Jane VC-DC Doe v. Virginia College, LLC, et

al., Case No. D-1-GN-18-007100 (“State Court Action”).
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   4. Attached as Exhibit 1 is a true and correct copy of all the process, pleadings, notices, and

orders delivered to any party and filed in the State Court Action, as required by 28 U.S.C.

§ 1446.

   5. Plaintiff’s Original Petition asserts causes of action against Defendants for breach of

contract, deceptive trade practices, fraud in the inducement, intentional infliction of emotional

distress, intentional bullying, violation of the Americans with Disabilities Act, conspiracy,

violation of Section 504 of the Rehabilitation Act, exemplary damages, pre- and post-judgment

interest, and attorney’s fees. See generally Exhibit 1, Original Petition.

                                       Diversity Jurisdiction

   6. Diversity jurisdiction exists if the amount in controversy exceeds $75,000.00, exclusive

of interest and costs, and the action is between citizens of different states. See 28 U.S.C. §

1332(a).

   7. As set forth below, the State Court Action is a civil action within the original diversity

jurisdiction of the federal district courts under 28 U.S.C. § 1332(a) because there is complete

diversity of citizenship between Plaintiff and Defendants, and the amount in controversy exceeds

$75,000.

                There is Complete Diversity of Citizenship Between the Parties

Defendant Virginia College, LLC

   8. Defendant Virginia College is a citizen of the States of Delaware and Alabama under 28

U.S.C. § 1332(a). For purposes of diversity jurisdiction, “[t]he citizenship of an LLC is

determined by the citizenship of each of its members.” Tewari De–Ox Systems, Inc. v. Mountain

States/Rosen LLC, 757 F.3d 481, 483 (5th Cir. 2014). Virginia College is an Alabama limited

liability company. See Declaration of Roger L. Swartzwelder (“Swartzwelder Decl.”) (attached


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as Exhibit 2) at ¶ 3. Virginia College’s sole member is Education Corporation of America

(“ECA”). See id. at ¶ 4. For diversity jurisdiction purposes, a corporation is “deemed to be a

citizen of any state in which it has been incorporated and of the State where it has its principal

place of business.” 28 U.S.C. § 1332(c)(1). ECA is a Delaware corporation whose principal

place of business is in Birmingham, Alabama. See Swartzwelder Decl. at ¶ 4. Accordingly, by

virtue of the citizenship of its sole member, ECA, Defendant Virginia College is a citizen of the

States of Delaware and Alabama within the meaning of 28 U.S.C. § 1332(a).

Defendant Education Corporation of America

    9.   Defendant ECA is a corporation. For diversity jurisdiction purposes, a corporation is

“deemed to be a citizen of any state in which it has been incorporated and of the State where it

has its principal place of business.” 28 U.S.C. § 1332(c)(1). As stated immediately above,

Defendant ECA is a citizen of the States of Delaware and Alabama.

Plaintiff Jane VC-DC Doe

    10. Plaintiff is a Texas resident. See Exhibit 1, Petition at ¶ 1. It is true that, “[f]or diversity

purposes, an individual’s citizenship is determined by his domicile, rather than residence.”

Preston v. Tenet Healthsystem Memorial Medical Ctr., Inc., 485 F.3d 793, 799 (5th Cir. 2007).

However, based upon the information admitted in Plaintiff’s Original Petition, it does not appear

that Plaintiff resides anywhere but in the State of Texas, and thus, for purposes of diversity

jurisdiction, is a citizen of the State of Texas within the meaning of 28 U.S.C. § 1332(a).

    11. Because Plaintiff, on the one hand, is a citizen of Texas, and Defendants, on the other

hand, are citizens of Alabama and Delaware, there is complete diversity of citizenship between

the parties.




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               The Amount in Controversy Exceeds the Jurisdictional Minimum

    12. This Court’s jurisdictional minimum amount that must be in controversy is any amount in

excess of $75,000. See 28 U.S.C. § 1332(a). Jurisdiction, including the amount in controversy, is

determined at the “time of removal.” Lopez v. Iovate Health Scis., Inc., No. 2:09-CV-002, 2009

WL 10669030, at *2 (W.D. Tex. June 1, 2009). This amount was satisfied at the time of the

filing of this action, and still is satisfied at the time of the instant request for removal.

    13. This Court may, for removal purposes, look to the removal papers and the pleadings for

underlying facts establishing the jurisdictional limit. See id. In this case, it is evident from the

face of Plaintiff’s Original Petition that the alleged damages exceed $75,000. Plaintiff is seeking

$1,000,000 in actual damages and $5,000,000 in exemplary damages, as well as attorney’s fees,

costs and interest. See Exhibit 1, Petition at ¶¶ 4, 67.

    14. Defendants refer herein to the allegations in the Original Petition solely to establish that

the amount in controversy in this matter exceeds $75,000. In doing so, Defendants do not admit

that Plaintiff is entitled to any damages or that it will be able to recover on any of its respective

theories.

                                        Timeliness of Removal

    15. Defendants received notice of this lawsuit on or about December 10, 2018, when a copy

of the Original Petition was personally given to their agent of service. See Swartzwelder Decl. at

¶ 5. Removal is therefore timely under 28 U.S.C. § 1446(b) because this Notice of Removal is

filed before expiration of the 30-day period set forth in 28 U.S.C. § 1446(b). Additionally, notice

is timely because it has been filed within one year after the original complaint was filed.




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                      All Other Removal Prerequisites Have Been Satisfied

   16. Removal to this district court is proper under 28 U.S.C. § 1441(a) and 28 U.S.C. § 124(d)

because the 345th Judicial District Court is geographically located within the Western District of

Texas.

   17. Written notice of this Notice of Removal, with a copy of this Notice of Removal

attached, will be promptly filed with the 345th Judicial District Court, as required by 28 U.S.C. §

1446(d).

   18. The prerequisites for removal under 28 U.S.C. §1441 have been met.              For all the

foregoing reasons, and because the State Court Action is one within the diversity jurisdiction of

the federal district courts, the action is removable to federal court under 28 U.S.C. § 1441(a) and

(b) because no defendant is a citizen of the State of Texas and the amount in controversy exceeds

$75,000.

   19. In the event that any questions should arise with regard to the propriety of the removal of

the State Court Action, Defendants respectfully request the opportunity to conduct limited

jurisdictional discovery on the citizenship of Plaintiff.

   20. Defendants have sought no similar relief with respect to this matter.

                                           CONCLUSION

         For the foregoing reasons, Defendants respectfully give notice that this action has been

 removed from the 345th Judicial District Court of Travis County, Austin, Texas to the United

 States District Court for the Western District of Texas, Austin Division, being the district and

 division for the county in which this action has been pending, and requests that this action

 proceed as properly removed to this Court.




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DATE: January 8, 2019

                                Respectfully submitted,



                                /s/ John Hintz
                                John Hintz (admitted in W.D. Texas)
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                                Attorney for Defendants Virginia College, LLC and
                                Education Corporation of America




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                                 CERTIFICATE OF SERVICE

      I hereby certify that, on January 8, 2019, a copy of the foregoing Notice of Removal

was served on the below-listed counsel of record for Plaintiff in the State Court Action via

electronic mail:


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                    Attorneys for Plaintiff

                                                       /s/ John Hintz
                                                       John Hintz
